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                                       Document PagePage1 1ofof4 5


Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &        FOR COURT USE ONLY
Email Address

Robert E Opera
Winthrop Couchot Golubow Hollander, LLP
1301 Dove Street, Suite 500
Newport Beach, CA 92660
949−720−4100




Plaintiff or Attorney for Plaintiff

                                     UNITED STATES BANKRUPTCY COURT
                               CENTRAL DISTRICT OF CALIFORNIA − SANTA BARBARA
In re:

                                                                              CASE NO.:    9:16−bk−11912−DS

Channel Technologies Group, LLC                                               CHAPTER:     11


                                                                              ADVERSARY NUMBER:         9:18−ap−01057−DS
                                                               Debtor(s).

Corporate Recovery Associates, LLC
                                                                                        EXECUTED
                                                               Plaintiff(s)
                               Versus
                                                                                  SUMMONS AND NOTICE OF STATUS
                                                                                    CONFERENCE IN ADVERSARY
Lynn Chen                                                                            PROCEEDING [LBR 7004−1]
(See Attachment A for names of additional defendants)
                                                           Defendant(s)



TO THE DEFENDANT(S): A Complaint has been filed by the Plaintiff against you. If you wish to defend against the Complaint,
you must file with the court a written pleading in response to the Complaint. You must also serve a copy of your written
response on the party shown in the upper left−hand corner of this page. The deadline to file and serve a written response is
11/14/2018. If you do not timely file and serve the response, the court may enter a judgment by default against you for the relief
demanded in the Complaint.

 A status conference in the adversary proceeding commenced by the Complaint has been set for:
             Date:                December 19, 2018
             Time:                10:30 AM
             Hearing Judge:       Deborah J. Saltzman
             Location:            1415 State St., Crtrm 201, Santa Barbara, CA 93101



            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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You must comply with LBR 7016−1, which requires you to file a joint status report and to appear at a status
conference. All parties must read and comply with the rule, even if you are representing yourself. You must cooperate with the
other parties in the case and file a joint status report with the court and serve it on the appropriate parties at least 14 days before
a status conference. A court−approved joint status report form is available on the court's website (LBR form F
7016−1.STATUS.REPORT) with an attachment for additional parties if necessary (LBR form F
7016−1.STATUS.REPORT.ATTACH). If the other parties do not cooperate in filing a joint status report, you still must file with
the court a unilateral status report and the accompanying required declaration instead of a joint status report 7 days before the
status conference. The court may fine you or impose other sanctions if you do not file a status report. The court may
also fine you or impose other sanctions if you fail to appear at a status conference.




                                                                                        KATHLEEN J. CAMPBELL
                                                                                        CLERK OF COURT




Date of Issuance of Summons and Notice of Status Conference in Adversary Proceeding: October 15, 2018




                                                                                        By:        "s/" Amber Ortiz
                                                                                                   Deputy Clerk




           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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                                    Document PagePage3 3ofof4 5



                                                     ATTACHMENT A
                                              Names of plaintiffs and defendants



Plaintiff(s):                                                                Defendant(s):
Corporate Recovery Associates, LLC                                           Lynn Chen
                                                                             Lynn Lefebvre




            This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

                                                             ATTACHMENT A
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 1                                 PROOF OF SERVICE OF DOCUMENT
     I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
 2   address is: 1301 Dove Street, Suite 500, Newport Beach, CA 92660.
 3   A true and correct copy of the foregoing document(s) entitled:

 4       •   Summons And Notice Of Status Conference In Adversary Proceeding [LBR 7004-1]
             [Docket No. 2-1];
 5
         •   Complaint To Avoid And Recover Preferential Transfers Of Property [Docket No. 759];
 6       •   Status Conference Procedures – Judge Deborah J. Saltzman;
 7       •   Joint Status Report – Form [LBR 7016-1(a)(2)]; and
 8       •   Joint Status Report – Form – Additional Party Attachment.
     Were served in the manner stated below:
 9
     1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
10   Pursuant to controlling General Orders and LBR, the foregoing document will be served by the court
     via NEF and hyperlink to the document. On October 16, 2018, I checked the CM/ECF docket for this
11   bankruptcy case or adversary proceeding and determined that the following persons are on the
     Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
12
         Service information continued on attached page
13
     2. SERVED BY UNITED STATES MAIL: On October 16, 2018, I served the following persons
14   and/or entities at the last known addresses in this bankruptcy case or adversary proceeding by placing
     a true and correct copy thereof in a sealed envelope in the United States mail, first class, postage
15   prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
16   judge will be completed no later than 24 hours after the document is filed.
     VIA FIRST CLASS CERTIFIED MAIL                              United States Bankruptcy Court,
17   #7017-3040-0000-9614-7380                                   Central District of California
     Lynn Chen                                                   Honorable Deborah J. Saltzman
18   3118 Adirondack Ct.                                         Edward R. Roybal Federal Building and Courthouse
     Westlake Village, CA 91362-3503                             255 E. Temple Street, Suite 1634 / Courtroom 1639
19
                                                                 Los Angeles, CA 90012
20       Service information continued on attached page
     3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE
21   TRANSMISSION OR EMAIL (state method for each person or entity served): Pursuant
     toF.R.Civ.P. 5 and/or controlling LBR, on ___________, 2018, I served the following persons and/or
22
     entities by personal delivery, overnight mail service, or (for those who consented in writing to such
23   service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes
     a declaration that personal delivery on, or overnight mail to, the judge will be completed no later than
24   24 hours after the document is filed.
         Service information continued on attached page
25
     I declare under penalty of perjury under the laws of the United States that the foregoing is true and
26   correct.
       October 16, 2018          Jeannie Martinez                        /s/ Jeannie Martinez
27     Date                    Printed Name                              Signature
28

                             MAINDOCS-#235924-v1-Channel_vs__Chen_-_POS-SummonsNtcSC-ReServiceChenComplaint_SummonsNoticeStatusConference
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 1          NEF SERVICE LIST
        •   Richard H Golubow rgolubow@wcghlaw.com,
 2          pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com
 3      •   Andrew B Levin alevin@wcghlaw.com,
            Meir@virtualparalegalservices.com;pj@wcghlaw.com;jmartinez@wcghlaw.com
 4
        •   Robert E Opera ropera@wcghlaw.com,
 5          pj@wcghlaw.com;jmartinez@wcghlaw.com;Meir@virtualparalegalservices.com
        •   United States Trustee (ND)       ustpregion16.nd.ecf@usdoj.gov
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